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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 DARLENE MARIE SKAGGS,                        )
                                              )
        Plaintiff(s),                         )
                                              )
        vs.                                   )       Case No. 4:21-CV-1438 SRW
                                              )
 KILOLO KIJAKAZI,                             )
 Commissioner of Social Security              )
 Administration,                              )
                                              )
        Defendant(s).                         )

                                MEMORANDUM AND ORDER

       This matter is before the Court on the Commissioner Kilolo Kijakazi’s Motion to Reverse

and Remand this case for further administrative action pursuant to sentence four of section

205(g) of the Social Security Act, 42 U.S.C. § 405(g). ECF No. 16. The Court has jurisdiction

over the subject matter of this action under § 405(g). The parties have consented to the exercise

of authority by a United States Magistrate Judge pursuant to 28 U.S.C. § 636(c). Plaintiff has not

filed a response to the Commissioner’s motion and the time for doing so has passed.

       On December 8, 2021, Plaintiff filed a Complaint seeking review of the Commissioner’s

decision that Plaintiff was not under a disability within the meaning of the Social Security Act.

ECF No. 1. The Commissioner filed the transcript of the administrative proceedings on March 2,

2022. ECF No. 12. Plaintiff filed a brief in support of the complaint on April 1, 2022. ECF No.

13. Plaintiff argues the ALJ erred by failing to support the RFC with substantial evidence

because the determination lacked limitations in his ability to adapt to changes. Id.




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       On May 27, 2022, the Commissioner filed the instant Motion to Reverse and Remand this

case for further action under sentence four of section 205(g) of the Social Security Act, which

permits the Court “to enter, upon the pleadings and transcript of the record, a judgment

affirming, modifying, or reversing the decision of the Commissioner, with or without remanding

the cause for a rehearing.” 42 U.S.C. § 405(g). The Commissioner represents that upon review of

the record, agency counsel determined remand was necessary for further evaluation of Plaintiff’s

claim. ECF No. 16. The Commissioner asserts that on remand,

       [T]he ALJ will be instructed to update the medical evidence as needed to
       complete the administrative record, assess Plaintiff’s RFC, obtain vocational
       expert testimony if warranted, take any other action as necessary, and issue a new
       decision. Plaintiff will be afforded the opportunity to submit additional evidence
       and request a new hearing.

Id.

       Upon review of Plaintiff’s brief in support of his complaint, the ALJ’s decision, and the

Commissioner’s motion, the Court agrees with the Commissioner that this case should be

reversed and remanded pursuant to sentence four of section 205(g) of the Social Security Act, 42

U.S.C. § 405(g), for further evaluation of Plaintiff’s claims.

       Accordingly,

       IT IS HEREBY ORDERED that the Commissioner’s Motion to Reverse and Remand

[ECF No. 16] is GRANTED.

       IT IS FURTHER ORDERED that the decision of the Commissioner is REVERSED.




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      IT IS FURTHER ORDERED that pursuant to sentence four of 42 U.S.C. § 405(g), this

case is REMANDED to the Commissioner for further consideration.

      So Ordered this 8th day of July, 2022.




                                           STEPHEN R. WELBY
                                           UNITED STATES MAGISTRATE JUDGE




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